             Case 3:07-cv-05944-JST Document 2819 Filed 09/09/14 Page 1 of 4



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     Attorneys for Plaintiff ViewSonic Corporation
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13                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
14                                SAN FRANCISCO DIVISION

15
     IN RE: CATHODE RAY TUBE (CRT)
16   ANTITRUST LITIGATION
17
                                                     Case No. 07-5944 SC
18
                                                     MDL No. 1917
19
     This Document Relates to:                       Individual Case No. 3:14-cv-02510-SC
20
     ViewSonic Corp. v. Chunghwa Picture Tubes,      STIPULATION AND [PROPOSED]
21                                                   ORDER TO CONTINUE HEARING DATE
     Ltd. et al., No. 14-cv-02510                    AND BRIEFING SCHEDULE ON
22                                                   PANASONIC DEFENDANTS’ MOTION
                                                     TO DISMISS AND TO COMPEL
23                                                   ARBITRATION

24
                                                     Judge: Hon. Samuel Conti
25

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         STIP. AND [PROPOSED] ORDER TO CONTINUE BRIEFING SCHEDULE ON MOTION TO DISMISS
                                    Case No. 07-5944; MDL NO. 1917
                Case 3:07-cv-05944-JST Document 2819 Filed 09/09/14 Page 2 of 4




 1          WHEREAS, on August 25, 2014, Defendants Panasonic Corporation, Panasonic
 2   Corporation of North America, and MT Picture Display Co., Ltd. (collectively, “Panasonic”)
 3   filed a Notice of Motion and Motion to Dismiss and Compel Arbitration (the “Motion to
 4   Dismiss”) against Plaintiff ViewSonic Corporation (“ViewSonic”).
 5          WHEREAS, Panasonic’s Motion to Dismiss is tentatively set for hearing on October 10,
 6   2014 at 10:00 a.m before this Court;
 7          WHEREAS, the parties have met and conferred, and have agreed to a revised briefing
 8   schedule for the Motion to Dismiss;
 9          NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and between
10   counsel to the respective parties that, in light of the parties’ agreement on a revised briefing
11   schedule and subject to the Court’s approval, the hearing date for the Motion to Dismiss shall be
12   continued to October 24, 2014;
13          IT IS FURTHER STIPULATED AND AGREED, by and between counsel to the
14   respective parties that, any oppositions to the Motion to Dismiss shall be filed on or before
15   September 22, 2014, and any replies to the Motion to Dismiss shall be filed on or before October
16   6, 2014.
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18          IT IS SO STIPULATED.
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20   Dated: September 4, 2014                               /s/ Jason C. Murray
                                                            Jason C. Murray (CA Bar No. 169806)
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28        STIP. AND [PROPOSED] ORDER TO CONTINUE BRIEFING SCHEDULE ON MOTION TO DISMISS
                                     Case No. 07-5944; MDL NO. 1917
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            Case 3:07-cv-05944-JST Document 2819 Filed 09/09/14 Page 3 of 4



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                                                  Corporation
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 6
     Dated: September 4, 2014                     /s/ Adam C. Hemlock
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25                                                Attorneys for Defendants Panasonic
                                                  Corporation, Panasonic Corporation of
26                                                North America, and MT Picture Display
                                                  Co., Ltd.
27

28      STIP. AND [PROPOSED] ORDER TO CONTINUE BRIEFING SCHEDULE ON MOTION TO DISMISS
                                   Case No. 07-5944; MDL NO. 1917
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             Case 3:07-cv-05944-JST Document 2819 Filed 09/09/14 Page 4 of 4




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 2          PURSUANT TO STIPULATION, IT IS SO ORDERED.
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                                                          UNIT
 6   Dated: September __,
                      8 2014




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                                                          Hon. Samuel Conti
 7                                                        United States District    el Conti
                                                                                   uJudge




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13          Pursuant to Local Rule 5-1(i), the filer attests that the concurrence in the filing of this
14   document has been obtained from each of the above signatories.
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16   Dated: September 4, 2014                     By: /s/ Jason C. Murray

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28       STIP. AND [PROPOSED] ORDER TO CONTINUE BRIEFING SCHEDULE ON MOTION TO DISMISS
                                    Case No. 07-5944; MDL NO. 1917
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